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                                  1                                                                                 JS-6
                                                                        United States District Court
                                  2                                     Central District of California

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                                  5     WALTER LANCASTER,

                                  6                       Plaintiff,

                                  7                          v.                          Case No. LACV 21-6799 VAP (KSx)
                                                        ND
                                  8     CALIFORNIA 2         DISTRICT COURT OF
                                                                                                          JUDGMENT
                                  9        APPEAL DIVISION FIVE, CITY OF
Central District of California
United States District Court




                                 10        LOS ANGELES

                                 11                       Defendants.

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                                 13
                                      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
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                                             Pursuant to the Court’s Order dismissing Plaintiff’s Complaint, filed under separate
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                                      cover, the Court DISMISSES Plaintiff’s Complaint without prejudice. The Court orders
                                 16
                                      that such judgment be entered.
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                                             IT IS SO ORDERED.
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                                      Dated:       9/22/21
                                 21                                                               Virginia A. Phillips
                                                                                              United States District Judge
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